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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 X CORP., a Nevada                              §
 corporation,                                   §
                      Plaintiff,                §
                                                §
 vs.                                            §                   Case No. 4:23-cv-01175-O
                                                §
 MEDIA MATTERS FOR AMERICA, a                   §
 Washington, D.C. non-profit corporation,       §
 ERIC HANANOKI, and ANGELO                      §
 CARUSONE,                                      §
                                                §
                   Defendants.                  §


                      JOINT MOTION TO AMEND SCHEDULING ORDER


       Plaintiff X Corp. and Defendants Media Matters for America, Eric Hananoki, and Angelo

Carusone jointly submit this motion to amend the scheduling order that the Court entered on

January 22, 2024. ECF No. 14. As discussed below, to ensure that the parties can fulfill their

discovery obligations and prepare this case for trial, the parties respectfully request an extension

of the deadlines in the current scheduling order.

                              ARGUMENT AND AUTHORITIES

       Rule 16 of the Federal Rules of Civil Procedure provides that parties may request the Court

to amend the scheduling order for good cause shown. Fed. R. Civ. P. 16(b)(4); see also S&W

Enters., L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 535 (5th Cir. 2003) (“The good cause

standard requires the ‘party seeking relief to show that the deadlines cannot reasonably be met

despite the diligence of the party needing the extension.’”) (quoting 6A Charles Alan Wright et al.,

Federal Practice and Procedure § 1522.1 (2d ed. 1990)); ECF No. 14 ¶ 12 (“Conclusory statements

will usually not suffice to show good cause, even if the motion is agreed or unopposed.”).
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       Good cause exists under these circumstances. The scope of written discovery and the

volume of document review and collection is significantly exceeding that which the parties

anticipated at the time they conferred for the Joint Report regarding the schedule (ECF No. 13)

and pursuant to Rule 26(f). As the Court has recognized, “the parties have demonstrated they are

capable of resolving discovery disputes through meaningful conferrals,” ECF No. 65 at 1, but

much work remains to be done in discovery.

        Defendants submit that they have so far collected over 5.5 terabytes of potentially

responsive data, which they are diligently reviewing and producing. See ECF No. 62-1 (LeGrand

Decl.). 1 But even with the dozens of attorneys Defendants have employed to review documents,

id., Defendants have approximately 4.3 terabytes of data comprising millions of documents and

thousands of videos awaiting review.

       Plaintiff submits that it is likewise gathering and reviewing a significant number of

documents as part of its discovery obligations, and will need to continue to do so. 2

       Furthermore, both Parties each intend to take numerous depositions before this case will

be ready for dispositive motion practice and trial, and those depositions will not be efficient or

productive in the absence of still-pending document discovery. Likewise, both Parties anticipate

offering expert testimony to assist the Court and jury in adjudicating the issues in this case. Those

expert reports will not be effective or productive in the absence of still-pending document

discovery. Given the unexpected volume of discovery and the resultant delay in deposition




1
  Defendants will need to undertake additional document collection in light of the Court’s Order
regarding Plaintiff’s Motion to Compel, ECF No. 65.
2
  Indeed, the parties have already agreed to extend X’s deadline to respond to Defendants’
outstanding discovery requests.


                                                 2
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scheduling and expert witness discovery, neither side can reasonably meet the existing discovery

deadlines.

       Separately, good cause also exists for the requested extension because discovery in this

case has raised disputes and privileges that have already required litigation and that, despite the

parties’ diligence, will certainly require additional time to finally resolve. As the Court is aware,

the parties already have had a discovery dispute requiring this Court’s adjudication. While the

Court has begun to resolve that motion to compel, see ECF No. 65, the parties have further

conferred and agree that the requested extension of deadlines is necessary to allow each side time

to comply with the Court’s order and better position them to address and resolve any additional

discovery disputes. Accordingly, as part of the revised schedule, the parties have proposed a

modest modification of the deadlines contained in the Court’s recent order. ECF No. 65 at 2-3. 3

       Given the volume and complexity of ongoing document discovery, as well as the

anticipated depositions and expert discovery, the Parties believe that the proposed extension of the

remaining deadlines constitutes a reasonable and efficient schedule that will permit the Parties the

additional time required to complete discovery in as “self-executing” a manner as possible under

the circumstances of this case. Cf. Dondi Properties Corp. v. Com. Sav. & Loan Ass’n, 121 F.R.D.

284, 289 (N.D. Tex. 1988). The Parties also request, as part of their proposed order, an interim

deadline denoting the end of written discovery on January 29, 2025, two weeks before initial expert

designations are due under the revised schedule. The requested schedule—which the parties agree

to work towards with the utmost diligence—will serve the interests of justice by allowing the



3
 The parties had already begun discussions on a proposed extension before the Court’s June 6,
2024 Order on the Motion to Compel. Both parties have been working diligently in good faith and
will continue to do so to ensure timely discovery productions and responses. Accordingly, the
Parties jointly propose to allow additional time for the review of documents for potential privilege
assertions and production of privilege logs.


                                                 3
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parties to take depositions and make expert disclosures with the benefit of a complete factual

record, which will in turn allow the Court and the jury to better understand and adjudicate the

Parties’ disputes.

       Finally, the Parties anticipate that further modification of the schedule in this Matter will

not be necessary, thereby maximally preserving the Court’s ability to “efficiently and expeditiously

resolve cases.” ECF No. 54 at 12.

                                         CONCLUSION

       The parties respectfully request that the Court grant their joint motion to modify the

scheduling order and enter the revised schedule contained in the attached proposed order.



Dated: June 10, 2024                                         Respectfully submitted,

/s/ Christopher D. Hilton                                      /s/ Andrew LeGrand
Christopher D. Hilton                                          Andrew LeGrand
Counsel for Plaintiff                                          Counsel for Defendants


/s/ Adam Mehes                                                 /s/ Angelo Carusone
Adam Mehes                                                     Angelo Carusone
On behalf of X Corp.                                           On Behalf of Media Matters for
                                                               America


                                                               /s/ Eric Hananoki
                                                               Eric Hananoki


                                                               /s/ Angelo Carusone
                                                               Angelo Carusone




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                              CERTIFICATE OF SERVICE

      I hereby certify that on June 10, 2024, a copy of this document was served on all counsel

of record through the Court’s CM/ECF system in accordance with the Federal Rules of Civil

Procedure.


                                           /s/ Alexander M. Dvorscak_______________
                                           Alexander M. Dvorscak




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